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         Exhibit 10
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Adel Bin Mohammed Albarran
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                           mfo@albran-attorney.com - ~,, , \ r, n. , v: uwSLii - ~,, i \ r, n vrv : ...:ii.a.
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